      Case 6:16-cv-00173-RP-AWA Document 747 Filed 12/10/19 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

JANE DOE 1, JANE DOE 2,                         §
JANE DOE 3, JANE DOE 4,                         §
JANE DOE 5, JANE DOE 6,                         §
JANE DOE 7, JANE DOE 8,                         §
JANE DOE 9, and JANE DOE 10                     §
                      Plaintiffs,               §
                                                §
vs.                                             §    Cause No. 6:16-cv-173-RP-AA
                                                §    JURY TRIAL DEMANDED
BAYLOR UNIVERSITY                               §
                      Defendant.                §

                     PLAINTIFFS’ ADVISORY REGARDING ECF 744

TO THE HONORABLE JUDGE AUSTIN:

       COME NOW PLAINTIFFS and file this Advisory Pursuant to the Court's order of

December 6, 2019 (ECF 744), Plaintiffs hereby present attached as Exhibit A, the ESI Proposal that

Plaintiffs transmitted to Defendant's counsel on December 9, 2019.

                                             Respectfully submitted,


                                               /s/ Jim Dunnam
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                                             AND




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     Case 6:16-cv-00173-RP-AWA Document 747 Filed 12/10/19 Page 2 of 2




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                                             ATTORNEYS FOR PLAINTIFFS

                                CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing has been filed by
ECF and sent to counsel of record via electronic notification on December 10, 2019.

                                             /s/Jim Dunnam
                                             JIM DUNNAM




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